Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 1 of 16 Page ID #:116



  1
      ARNOLDO CASILLAS, ESQ., SBN 158519
      DENISSE O. GASTÉLUM, ESQ., SBN 282771
  2   LEONEL MOJICA, ESQ., SBN 273732
  3   CASILLAS & ASSOCIATES
      3777 Long Beach Blvd., Third Floor
  4   Long Beach, CA 90807
  5   Telephone: (562) 203-3030
      Facsimile: (323) 725-0350
  6   Email: acasillas@casillaslegal.com
  7          dgastelum@casillaslegal.com
             lmojica@casillaslegal.com
  8

  9   Attorneys for Plaintiffs,
      A.A.V., a minor, by and through his Guardian ad Litem, Mireya Segura; ESTATE
 10   OF ALVARO VENEGAS, by and through successors in interest A.A.V., Juan
 11   Venegas Garcia and Sara Duran de Venegas

 12                       UNITED STATES DISTRICT COURT
 13
            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 14

 15   A.A.V., a minor, by and through his )      CASE NO: 2:20-cv-07393-PSG-JEM
      Guardian ad Litem, Mireya Segura;     )   [Assigned to the Hon. Philip S. Gutierrez
 16   ESTATE OF ALVARO VENEGAS, )               and John E. McDermott]
 17   by and through successors in interest )
      A.A.V., Juan Venegas Garcia and Sara )
 18                                             Discovery Document: Referred to
      Duran de Venegas,                     )
                                                Magistrate Judge John E. McDermott
 19                                         )
                          Plaintiffs,       )
 20                                             STIPULATED PROTECTIVE ORDER
                                            )
 21   vs.                                   )
                                            )
 22   COUNTY OF LOS ANGELES; LOS )
 23   ANGELES COUNTY SHERIFF’S              )
      DEPARTMENT and DOES 1 to 10, )
 24                                         )   Complaint:     August 17, 2020
 25                      Defendants.        )   Trial:         None Set
                                            )
 26   _______________________________ )
 27

 28

                                         1
                      [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 2 of 16 Page ID #:117



  1   1.    A. PURPOSES AND LIMITATIONS
  2         Discovery in this action is likely to involve production of confidential,
  3   proprietary, or private information for which special protection from public disclosure
  4   and from use for any purpose other than prosecuting this litigation may be warranted.
  5   Accordingly, the parties hereby stipulate to and petition the Court to enter the following
  6   Stipulated Protective Order. The parties acknowledge that this Order does not confer
  7   blanket protections on all disclosures or responses to discovery and that the protection
  8   it affords from public disclosure and use extends only to the limited information or
  9   items that are entitled to confidential treatment under the applicable legal principles.
 10   The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated
 11   Protective Order does not entitle them to file confidential information under seal; Civil
 12   Local Rule 79-5 sets forth the procedures that must be followed and the standards that
 13   will be applied when a party seeks permission from the court to file material under seal
 14         B. GOOD CAUSE STATEMENT
 15         Good cause exists for entry of this order.         As Plaintiffs are seeking and
 16   Defendants may produce, among other things, third party private and confidential
 17   information; portions of the personnel files of the deputy personnel involved in the
 18   subject incident, which contains confidential information, and information the County
 19   of Los Angeles regards as official information; performance evaluations, work
 20   schedules/logs and rosters, and training records for the involved deputy personnel;
 21   administrative investigation files, including but not limited to Detective and Crime
 22   Scene Investigator(s) materials, Internal Affairs materials which contain incident
 23   reports, witness statements, and other sensitive materials which the County of Los
 24   Angeles believes need special protection from public disclosure.
 25         Defendants contend that limiting disclosures of these documents to the context
 26   of this litigation as provided herein will, accordingly, further important law
 27   enforcement objectives and interests, including the safety of law enforcement
 28

                                           2
                        [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 3 of 16 Page ID #:118



  1   personnel, institutional safety as a whole, and the public, as well as individual privacy
  2   rights of Plaintiffs, Defendants, and third parties. Defendants further contend that such
  3   confidential materials and information consist of, among other things, materials
  4   entitled to privileged and/or protections under the following: the United States
  5   Constitution, First Amendment; the California Constitution, Article I, Section 1;
  6   California Penal Code §§ 832.5, 832.7, and 832.8; California Evidence Code §§ 1040
  7   and 1043 et seq.; the Privacy Act of 1974, 5 U.S.C. § 552a; the right to privacy;
  8   decisional law relating to such provisions; and information otherwise generally
  9   unavailable to the public, or which may be privileged or otherwise protected from
 10   disclosure under state and federal statutes, court rules, case decisions, or common law.
 11   Defendants also maintain that such confidential material and information consist of
 12   materials entitled to the Official Information Privilege.
 13         Accordingly, to expedite the flow of information, to facilitate the prompt
 14   resolution of disputes over confidentiality of discovery materials, to adequately protect
 15   information the parties are entitled to keep confidential, to ensure that the parties are
 16   permitted reasonable necessary uses of such material in preparation for and in the
 17   conduct of trial, to address their handling at the end of the litigation, and serve the ends
 18   of justice, a protective order for such information is justified in this matter. It is the
 19   intent of the parties that information will not be designated as confidential for tactical
 20   reasons and that nothing be so designated without a good faith belief that it has been
 21   maintained in a confidential, non-public manner, and there is good cause why it should
 22   not be part of the public record of this case.
 23   2.    DEFINITIONS
 24         2.1    Action: This pending federal law suit.
 25         2.2    Challenging Party: a Party or Non-Party that challenges the designation
 26   of information or items under this Order.
 27

 28

                                            3
                         [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 4 of 16 Page ID #:119



  1         2.3    “CONFIDENTIAL” Information or Items: information (regardless of how
  2   it is generated, stored or maintained) or tangible things that qualify for protection under
  3   Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
  4   Statement.
  5         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their
  6   support staff).
  7         2.5    Designating Party: a Party or Non-Party that designates information or
  8   items that it produces in disclosures or in responses to discovery as
  9   “CONFIDENTIAL.”
 10         2.6    Disclosure or Discovery Material: all items or information, regardless of
 11   the medium or manner in which it is generated, stored, or maintained (including, among
 12   other things, testimony, transcripts, and tangible things), that are produced or generated
 13   in disclosures or responses to discovery in this matter.
 14         2.7    Expert: a person with specialized knowledge or experience in a matter
 15   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
 16   expert witness or as a consultant in this Action.
 17         2.8    House Counsel: attorneys who are employees of a party to this Action.
 18   House Counsel does not include Outside Counsel of Record or any other outside
 19   counsel.
 20         2.9    Non-Party: any natural person, partnership, corporation, association, or
 21   other legal entity not named as a Party to this action.
 22         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
 23   this Action but are retained to represent or advise a party to this Action and have
 24   appeared in this Action on behalf of that party or are affiliated with a law firm which
 25   has appeared on behalf of that party, and includes support staff.
 26   ///
 27   ///
 28

                                           4
                        [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 5 of 16 Page ID #:120



  1         2.11 Party: any party to this Action, including all of its officers, directors,
  2   board, departments, divisions, employees, consultants, retained experts, and Outside
  3   Counsel of Record (and their support staffs).
  4         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  5   Discovery Material in this Action.
  6         2.13 Professional Vendors: persons or entities that provide litigation support
  7   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  8   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
  9   their employees and subcontractors.
 10         2.14 Protected Material: any Disclosure or Discovery Material that is
 11   designated as “CONFIDENTIAL.”
 12         2.15 Receiving Party: A Party that receives Disclosure or Discovery Material
 13   from a Producing Party.
 14   3.    SCOPE
 15         The protections conferred by this Stipulation and Order cover not only Protected
 16   Material (as defined above), but also (1) any information copied or extracted from
 17   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
 18   Material; and (3) any testimony, conversations, or presentations by Parties or their
 19   Counsel that might reveal Protected Material.
 20         Any use of Protected Material at trial shall be governed by the orders of the trial
 21   judge. This Order does not govern the use of Protected Material at trial.
 22   4.    DURATION
 23         Even after final disposition of this litigation, the confidentiality obligations
 24   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
 25   in writing or a court order otherwise directs. Final disposition shall be deemed to be
 26   the later of (1) dismissal of all claims and defenses in this Action, with or without
 27   prejudice; and (2) final judgment herein after the completion and exhaustion of all
 28

                                           5
                        [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 6 of 16 Page ID #:121



  1   appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
  2   for filing any motions or applications for extension of time pursuant to applicable law.
  3   5.    DESIGNATING PROTECTED MATERIAL
  4         5.1       Exercise of Restraint and Care in Designating Material for Protection.
  5   Each Party or Non-Party that designates information or items for protection under this
  6   Order must take care to limit any such designation to specific material that qualifies
  7   under the appropriate standards. The Designating Party must designate for protection
  8   only those parts of material, documents, items, or oral or written communications that
  9   qualify so that other portions of the material, documents, items, or communications for
 10   which protection is not warranted are not swept unjustifiably within the ambit of this
 11   Order.
 12            Mass, indiscriminate, or routinized designations are prohibited. Designations
 13   that are shown to be clearly unjustified or that have been made for an improper purpose
 14   (e.g., to unnecessarily encumber the case development process or to impose
 15   unnecessary expenses and burdens on other parties) may expose the Designating Party
 16   to sanctions.
 17         5.2       Manner and Timing of Designations. Except as otherwise provided in
 18   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 19   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 20   under this Order must be clearly so designated before the material is disclosed or
 21   produced.
 22         Designation in conformity with this Order requires:
 23         (a)       for information in documentary form (e.g., paper or electronic documents,
 24   but excluding transcripts of depositions or other pretrial or trial proceedings), that the
 25   Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
 26   “CONFIDENTIAL legend”), to each page that contains protected material. The legend
 27   must not obstruct a Party’s ability to view the contents of that document. If only a
 28

                                              6
                           [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 7 of 16 Page ID #:122



  1   portion or portions of the material on a page qualifies for protection, the Producing
  2   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  3   markings in the margins).
  4         A Party or Non-Party that makes original documents available for inspection
  5   need not designate them for protection until after the inspecting Party has indicated
  6   which documents it would like copied and produced. During the inspection and before
  7   the designation, all of the material made available for inspection shall be deemed
  8   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
  9   copied and produced, the Producing Party must determine which documents, or
 10   portions thereof, qualify for protection under this Order. Then, before producing the
 11   specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
 12   to each page that contains Protected Material. If only a portion or portions of the
 13   material on a page qualifies for protection, the Producing Party also must clearly
 14   identify the protected portion(s) (e.g., by making appropriate markings in the margins).
 15         (b)    for testimony given in depositions that the Designating Party identify the
 16   Disclosure or Discovery Material on the record, before the close of the deposition all
 17   protected testimony.
 18         (c)    for information produced in some form other than documentary and for
 19   any other tangible items, that, at a minimum, the Producing Party affix in a prominent
 20   place on the exterior of the container or containers in which the information is stored
 21   the legend “CONFIDENTIAL.” If only a portion or portions of the information
 22   warrants protection, the Producing Party, to the extent practicable, shall identify the
 23   protected portion(s).
 24         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
 25   failure to designate qualified information or items does not, standing alone, waive the
 26   Designating Party’s right to secure protection under this Order for such material. Upon
 27   timely correction of a designation, the Receiving Party must make reasonable efforts
 28

                                           7
                        [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 8 of 16 Page ID #:123



  1   to assure that the material is treated in accordance with the provisions of this Order.
  2         5.4         Privilege Logs. If a party withholds information that is responsive to a
  3   discovery request by claiming that it is privileged or otherwise protected from
  4   discovery, that party shall promptly prepare and provide a privilege log that is
  5   sufficiently detailed and informative for the opposing party to assess whether a
  6   document's designation as privileged is justified. See Fed.R.Civ.P. 26(b)(5). The
  7   privilege log shall set forth the privilege relied upon and specify separately for each
  8   document or for each category of similarly situated documents:
  9               (a)      the title and description of the document, including number of pages
 10                        or Bates- number range;
 11               (b)      the subject matter addressed in the document;
 12               (c)      the identity and position of its author(s);
 13               (d)      the identity and position of all addressees and recipients;
 14               (e)      the date the document was prepared and, if different, the date(s) on
 15                        which it was sent to or shared with persons other than its author(s); and
 16               (f)      the specific basis for the claim that the document is privileged and
 17                        protected.
 18         Communications involving counsel that post-date the filing of the complaint
 19   need not be placed on a privilege log
 20   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 21         6.1         Timing of Challenges. Any Party or Non-Party may challenge a
 22   designation of confidentiality at any time that is consistent with the Court’s Scheduling
 23   Order.
 24         6.2         Meet and Confer. The Challenging Party shall initiate the dispute
 25   resolution process under Local Rule 37.1 et seq.
 26         6.3         Failing informal resolution between parties, the Designating Party may
 27   file and serve a Motion for a Protective Order with the Court strictly pursuant to Local
 28   Rule 37, including the Joint Stipulation Procedure. The parties agree that if the Motion
                                               8
                            [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 9 of 16 Page ID #:124



  1   for Protective Order is filed within 21 days of the written challenge (subject to
  2   extension upon agreement of the Parties), the Material will retain its original
  3   designation until the Court rules on the Motion for a Protective Order. If the
  4   Designating Party does not file a motion within the 21-day period following a
  5   challenge, the material is no longer designated as CONFIDENTIAL INFORMATION
  6   for purposes of this Stipulation, but that change in designation does not bar the
  7   Producing Party from subsequently filing a motion for a protective order.
  8   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  9         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 10   disclosed or produced by another Party or by a Non-Party in connection with this
 11   Action only for prosecuting, defending, or attempting to settle this Action. Such
 12   Protected Material may be disclosed only to the categories of persons and under the
 13   conditions described in this Order. When the Action has been terminated, a Receiving
 14   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
 15         Protected Material must be stored and maintained by a Receiving Party at a
 16   location and in a secure manner that ensures that access is limited to the persons
 17   authorized under this Order.
 18         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
 19   otherwise ordered by the court or permitted in writing by the Designating Party, a
 20   Receiving Party may disclose any information or item designated “CONFIDENTIAL”
 21   only to:
 22         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
 23   employees of said Outside Counsel of Record to whom it is reasonably necessary to
 24   disclose the information for this Action;
 25         (b) the officers, directors, and employees (including House Counsel) of the
 26   Receiving Party to whom disclosure is reasonably necessary for this Action;
 27         (c) Experts (as defined in this Order) of the Receiving Party to whom
 28

                                           9
                        [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 10 of 16 Page ID #:125



   1   disclosure is reasonably necessary for this Action and who have signed the
   2   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   3         (d) the court and its personnel;
   4          (e) court reporters and their staff;
   5         (f) professional jury or trial consultants, mock jurors, and Professional Vendors
   6   to whom disclosure is reasonably necessary for this Action and who have signed the
   7   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   8         (g) the author or recipient of a document containing the information or a
   9   custodian or other person who otherwise possessed or knew the information;
  10         (h) during their depositions, witnesses, and attorneys for witnesses, in the Action
  11   to whom disclosure is reasonably necessary provided: (1) the deposing party requests
  12   that the witness sign the “Acknowledgment and Agreement to Be Bound” form
  13   attached as Exhibit A hereto; and (2) they will not be permitted to keep any confidential
  14   information unless they sign the “Acknowledgment and Agreement to Be Bound”
  15   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court.
  16   Pages of transcribed deposition testimony or exhibits to depositions that reveal
  17   Protected Material may be separately bound by the court reporter and may not be
  18   disclosed to anyone except as permitted under this Stipulated Protective Order; and
  19         (i) any mediator or settlement officer, and their supporting personnel, mutually
  20   agreed upon by any of the parties engaged in settlement discussions.
  21   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
  22   OTHER LITIGATION
  23         If a Party is served with a subpoena or a court order issued in other litigation that
  24   compels disclosure of any information or items designated in this Action as
  25   “CONFIDENTIAL,” that Party must:
  26         (a)    promptly notify in writing the Designating Party. Such notification shall
  27   include a copy of the subpoena or court order;
  28

                                            10
                         [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 11 of 16 Page ID #:126



   1         (b)    promptly notify in writing the party who caused the subpoena or order to
   2   issues in the other litigation that some or all of the material covered by the subpoena or
   3   order is subject to this Protective Order. Such notification shall include a copy of this
   4   Stipulated Protective Order; and
   5         (c)    cooperate with respect to all reasonable procedures sought to be pursued
   6   by the Designating Party whose Protected Material may be affected.
   7         If the Designating Party timely seeks a protective order, the Party served with
   8   the subpoena or court order shall not produce any information designated in this action
   9   as “CONFIDENTIAL” before a determination by the court from which the subpoena
  10   or order issued, unless the Party has obtained the Designating Party’s permission. The
  11   Designating Party shall bear the burden and expense of seeking protection in that court
  12   of its confidential material and nothing in these provisions should be construed as
  13   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
  14   directive from another court.
  15   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
  16   IN THIS LITIGATION
  17         (a)    The terms of this Order are applicable to information produced by a Non-
  18   Party in this Action and designated as “CONFIDENTIAL.” Such information produced
  19   by Non-Parties in connection with this litigation is protected by the remedies and relief
  20   provided by this Order. Nothing in these provisions should be construed as prohibiting
  21   a Non-Party from seeking additional protections.
  22         (b)    In the event that a Party is required, by a valid discovery request, to
  23   produce a Non-Party’s confidential information in its possession, and the Party is
  24   subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
  25   information, then the Party shall:
  26                (1)    promptly notify in writing the Requesting Party and the Non-Party
  27

  28

                                             11
                          [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 12 of 16 Page ID #:127



   1   that some or all of the information requested is subject to a confidentiality agreement
   2   with a Non-Party;
   3                (2)     promptly provide the Non-Party with a copy of the Stipulated
   4   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   5   specific description of the information requested; and
   6                (3)     make the information requested available for inspection by the
   7                Non-Party, if requested.
   8         (c)    If the Non-Party fails to seek a protective order from this court within 14
   9   days of receiving the notice and accompanying information, the Receiving Party may
  10   produce the Non-Party’s confidential information responsive to the discovery request.
  11   If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
  12   any information in its possession or control that is subject to the confidentiality
  13   agreement with the Non-Party before a determination by the court. Absent a court order
  14   to the contrary, the Non-Party shall bear the burden and expense of seeking protection
  15   in this court of its Protected Material.
  16   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
  17         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  18   Protected Material to any person or in any circumstance not authorized under this
  19   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
  20   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
  21   all unauthorized copies of the Protected Material, (c) inform the person or persons to
  22   whom unauthorized disclosures were made of all the terms of this Order, and (d)
  23   request such person or persons to execute the “Acknowledgment and Agreement to Be
  24   Bound” that is attached hereto as Exhibit A.
  25   ///
  26   ///
  27   ///
  28

                                              12
                           [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 13 of 16 Page ID #:128



   1   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   2         PROTECTED MATERIAL.
   3         When a Producing Party gives notice to Receiving Parties that certain
   4   inadvertently produced material is subject to a claim of privilege or other protection,
   5   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   6   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
   7   may be established in an e-discovery order that provides for production without prior
   8   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
   9   parties reach an agreement on the effect of disclosure of a communication or
  10   information covered by the attorney-client privilege or work product protection, the
  11   parties may incorporate their agreement in the stipulated protective order submitted to
  12   the court.
  13   12.   MISCELLANEOUS
  14         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  15   person to seek its modification by the Court in the future.
  16         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  17   Protective Order no Party waives any right it otherwise would have to object to
  18   disclosing or producing any information or item on any ground not addressed in this
  19   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  20   ground to use in evidence of any of the material covered by this Protective Order.
  21         12.3 Filing Protected Material. A Party that seeks to file under seal any
  22   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  23   only be filed under seal pursuant to a court order authorizing the sealing of the specific
  24   Protected Material at issue. If a Party's request to file Protected Material under seal is
  25   denied by the court, then the Receiving Party may file the information in the public
  26   record unless otherwise instructed by the court.
  27   ///
  28

                                            13
                         [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 14 of 16 Page ID #:129



   1   13.   FINAL DISPOSITION.
   2         After the final disposition of this Action (as defined in paragraph 4), within 60
   3   days of a written request by the Designating Party, or another period of time agreed
   4   upon by the parties, each Receiving Party must return all Protected Material to the
   5   Producing Party or destroy such material. As used in this subdivision, “all Protected
   6   Material” includes all copies, abstracts, compilations, summaries, and any other format
   7   reproducing or capturing any of the Protected Material. Whether the Protected Material
   8   is returned or destroyed, the Receiving Party must submit a written certification to the
   9   Producing Party (and, if not the same person or entity, to the Designating Party) by the
  10   60 day or agreed upon deadline that (1) identifies (by category, where appropriate) all
  11   the Protected Material that was returned or destroyed and (2)affirms that the Receiving
  12   Party has not retained any copies, abstracts, compilations, summaries or any other
  13   format reproducing or capturing any of the Protected Material. Notwithstanding this
  14   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
  15   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
  16   deposition and trial exhibits, expert reports, attorney work product, and consultant and
  17   expert work product, even if such materials contain Protected Material. Any such
  18   archival copies that contain or constitute Protected Material remain subject to this
  19   Protective Order as set forth in Section 4 (DURATION).
  20   14.   Any violation of this Order may be punished by any and all appropriate measures
  21   including, without limitation, contempt proceedings and/or monetary sanctions.
  22         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  23
       November 6, 2020                       CASILLAS & ASSOCIATES
  24

  25                                          By: /s/ Arnoldo Casillas
                                              ARNOLDO CASILLAS
  26
                                              DENISSE O. GASTÉLUM
  27                                          LEONEL MOJICA
                                              Attorneys for Plaintiffs,
  28

                                            14
                         [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 15 of 16 Page ID #:130



   1
                                         A.A.V., a minor, by and through his Guardian
                                         ad Litem, Mireya Segura; ESTATE OF
   2                                     ALVARO VENEGAS, by and through
   3                                     successors in interest A.A.V., Juan Venegas
                                         Garcia and Sara Duran de Venegas
   4

   5
       November 6, 2020                  HURRELL CANTRALL LLP
   6
                                         By: /s/ Nzhdeh Aghazaryan
   7
                                         THOMAS HURRELL
   8                                     JENNIFER MOON
                                         NZHDEH AGHAZARYAN
   9
                                         Attorneys for Defendants,
  10                                     COUNTY OF LOS ANGELES, LOS
                                         ANGELES COUNTY SHERIFF’S
  11
                                         DEPARTMENT
  12

  13

  14
       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  15

  16   Dated: 11/6/2020                 /s/John E. McDermott__________
  17
                                         Hon. John E. McDermott
                                         U.S. Magistrate Judge
  18                                     United States District Court
  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                             15
                          [PROPOSED] STIPULATED PROTECTIVE ORDER
Case 2:20-cv-07393-PSG-JEM Document 21 Filed 11/06/20 Page 16 of 16 Page ID #:131



   1

   2                                         EXHIBIT A
   3            ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   4         I, _____________________________ [print or type full name], of
   5   _________________ [print or type full address], declare under penalty of perjury that
   6   I have read in its entirety and understand the Stipulated Protective Order that was
   7   issued by the United States District Court for the Central District of California on
   8   ___________ in the case of A.V.V., et al. v. County of Los Angeles, et al., Case No.
   9   2:20-cv-03468-PSG-JEM. I agree to comply with and to be bound by all the terms of
  10   this Stipulated Protective Order and I understand and acknowledge that failure to so
  11   comply could expose me to sanctions and punishment in the nature of contempt. I
  12   solemnly promise that I will not disclose in any manner any information or item that
  13   is subject to this Stipulated Protective Order to any person or entity except in strict
  14   compliance with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action.
  19         I hereby appoint __________________________ [print or type full name] of
  20   _______________________________________ [print or type full address and
  21   telephone number] as my California agent for service of process in connection with
  22   this action or any proceedings related to enforcement of this Stipulated Protective
  23   Order.
  24         Date: ______________________________________
  25         City and State where sworn and signed: _______________________________
  26         Printed name: _______________________________
  27         Signature: __________________________________
  28

                                            16
                         [PROPOSED] STIPULATED PROTECTIVE ORDER
